           Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 1 of 11




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


                                                      Criminal Action No. 21-175 (TJK)
         v.

ETHAN NORDEAN et al.,

                 Defendants.


                                   MEMORANDUM ORDER

         Defendants Enrique Tarrio and Zachary Rehl, joined by Joseph Biggs, have again moved

to dismiss the Third Superseding indictment. They argue that the Government’s collateral

investigations and prosecutions related to the January 6, 2021 attack on the Capitol have led several

potential defense witnesses to invoke the Fifth Amendment in response to trial subpoenas.

Defendant Ethan Nordean has moved to join them, supplementing their motions with allegations

that the Government has endeavored to intimidate other defense witnesses. As an alternative to

dismissal, Rehl further moves the Court to immunize these witnesses itself, or else to sever him

from the indictment and continue his trial. The Court will deny the motions.

I.       Background

         Tarrio’s motion centers on Lieutenant Shane Lamond. See ECF No. 572.1 Lt. Lamond is

a 20-year veteran of the Metropolitan Police Department in Washington, D.C. According to

Tarrio, he communicated with Lt. Lamond before every trip into the District of Columbia,

informing him of the Proud Boys’ plans—including those for January 6th. Id. at 3. For that reason,

Tarrio has subpoenaed Lt. Lamond to testify at trial. But because Lt. Lamond is under criminal


1
    ECF No. 572 amends ECF No. 569, Tarrio’s initial motion to dismiss the case.
          Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 2 of 11




investigation for reasons related to his relationship with Tarrio and is facing potential prosecution,

his counsel has communicated to Tarrio that he will invoke the Fifth Amendment if called to

testify. Id. at 7.

         Rehl’s motion, while adopting and incorporating Tarrio’s arguments about Lt. Lamond,

focuses on three witnesses he would call in his defense. One witness, Jeffery Finley, has pleaded

guilty to misdemeanors and is awaiting sentencing, and the other two face pending misdemeanor

charges. See ECF No. 581 at 3–5; ECF No. 590 at 3–5. All three witnesses were members of the

Proud Boys and entered the Capitol with Rehl on January 6th. ECF No. 581 at 2. Indeed, two of

the witnesses travelled to the District of Columbia with Rehl ahead of the rally. Id.

         The Government moved to continue Finley’s sentencing until February. ECF No. 581 at

4. On Judge Chutkan’s order, the Government filed an explanation for the delay under seal. See

id. At Rehl’s suggestion, the Government has submitted a copy of that filing to the Court ex parte,

which the Court has reviewed. As for the two other witnesses with pending charges, the next status

hearings are also scheduled to take place in February 2022. Id. at 5. Counsel for each of these

witnesses has communicated to Rehl that the witnesses would invoke the Fifth Amendment if

subpoenaed to testify in this case. Id. at 3.

         Nordean then moved to join and supplement Tarrio’s and Rehl’s motions, alleging the

Government had intimidated two other defense witnesses, Adrienna DiCioccio and Shannon

Rusch.     See ECF No. 5842; see also ECF No. 579 (Nordean’s “Notice of Government’s

Intimidation of Defense Witness”). He claims, in short, that the Government implicitly threatened

criminal prosecution against DiCioccio and Rusch’s son if they refused to corroborate the

Government’s theory against Nordean or testified in his defense. But importantly, Nordean has



2
    The Court hereby grants Nordean’s Motion to Join and Supplement.
                                                  2
          Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 3 of 11




not asserted that either witness would invoke the Fifth Amendment if subpoenaed to testify on his

behalf at trial.

        Weeks after these filings, Tarrio supplemented his initial motion.3 He incorporated Rehl’s

and Nordean’s allegations, discussed above, and also explained that, since the first motions were

filed, two more defense witnesses have asserted they would invoke the Fifth Amendment at trial.

See ECF No. 612 at 10–12. One of these witnesses is Eddie Block, whom Nordean has moved

before to depose. Id. at 10–11; see ECF No. 599; Minute Order of Dec. 28, 2022 (denying

Nordean’s motion without prejudice). The Government had noted in opposition to Nordean’s

motion to depose Block that “Nordean [had] . . . not proffered that Mr. Block [was] willing to

submit to a compelled deposition” and questioned whether he might assert a Fifth Amendment

privilege considering his own conduct on January 6th. ECF No. 603 at 7. As for the second

witness, whose “name is sealed,” Tarrio represents that Nordean has subpoenaed the witness after

several conversations between Nordean’s counsel and the witness’s counsel. See ECF No. 612 at

11. Tarrio reports that, on December 30, 2022, the witness’s counsel communicated for the first

time that the witness “would make a blanket privilege assertion at trial.” Id. Tarrio does not allege

that the Government communicated with either witness at all, no less improperly, before the

witnesses declared they would invoke their Fifth Amendment privileges at trial.

        Collectively, Defendants argue that, to preserve their constitutional rights to due process

and compulsory process, the Court should present the Government with an ultimatum: immunize

Lt. Lamond and Rehl’s witnesses, or else the Court will dismiss the indictment. See ECF No. 572




3
 On December 30, 2022, Tarrio filed Second and Third Amended Motions to Dismiss. See ECF
Nos. 611 & 612. The Third Amended Motion corrects a factual inaccuracy from the Second
Amended Motion but is identical in all other respects. Compare ECF No. 611 at 11 with ECF No.
612 at 11–12. So the Court will reference throughout the Third Amended Motion at ECF No. 612.
                                                 3
        Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 4 of 11




at 1. Alternatively, Rehl argues the Court should compel his witnesses to testify despite their

invocations of Fifth Amendment rights, effectively immunizing their testimony by judicial fiat.

See ECF No. 581 at 8–11. Finally, if the Court declines these options, Rehl moves to sever his

case from his codefendants and continue his trial until the cases against these witnesses are fully

resolved. See id. at 11–12.

II.    Analysis

       The Court will deny Defendants’ motions. On the record before it, the Court cannot

conclude the Government’s conduct related to any of the defense witnesses warrants the extreme

sanction of dismissal. As for Rehl’s requests for alternative relief, the path to immunity he seeks

is unavailable, and his argument for severance—relief the Court has already once denied, see ECF

No. 594 at 66–70—is unconvincing.

       A.      Motions to Dismiss

       To start, the Court will not dismiss the indictment against the Defendants or otherwise

order the Government to immunize the potential defense witnesses to avoid dismissal. “[T]he

Constitution guarantees criminal defendants a meaningful opportunity to present a complete

defense,” which generally stems from the Fifth Amendment’s Due Process Clause and the Sixth

Amendment’s Compulsory Process Clause. Holmes v. South Carolina, 547 U.S. 319, 324 (2006)

(cleaned up). Government conduct “aimed at discouraging defense witnesses from testifying . . .

deprive[s] the criminal defendant of his Sixth Amendment compulsory process right.” United

States v. Davis, 974 F.2d 182, 186 (D.C. Cir. 1992).

       To that end, some circuits have said a court may require the government to immunize

defense witnesses or else risk dismissal of its case. See, e.g., United States v. Bahadar, 954 F.2d

821, 826 (2d Cir. 1992). But the D.C. Circuit has suggested such an order would be appropriate



                                                4
        Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 5 of 11




only under “extraordinary circumstances,” which generally means “prosecutorial misconduct.”

See United States v. Lugg, 892 F.2d 101, 104 (D.C. Cir. 1989) (cleaned up). As one court has

explained, to obtain such an order, “the defendant must show that the government has used

immunity in a discriminatory way, has forced a potential witness to invoke the Fifth Amendment

through overreaching, or has deliberately denied immunity for the purpose of withholding

exculpatory evidence and gaining a tactical advantage through such manipulation.” United States

v. Ebbers, 458 F.3d 110, 119 (2d Cir. 2006) (cleaned up). “Overreach” includes “the use of threats,

harassment, or other forms of intimidation.” Id. (cleaned up).

       The Court has no grounds on which to conclude the Government has engaged in such

misconduct here with respect to the witnesses at issue. Beginning with Lt. Lamond, Tarrio offers

no evidence that the Government has strategically pursued its investigation against him to

intentionally deprive Defendants of his testimony. All he suggests is that it is “curious” the

Government has yet to complete its investigation, despite Lt. Lamond’s consistent cooperation,

and “[i]t is not reasonable to expect any additional evidence to be obtained from any further

investigation against Lamond or that the government has sufficient evidence to support an

indictment against Lamond.” ECF No. 572 at 7. But given the complexity of these cases and the

Government’s detailed representations about the timing and nature of its investigation, the Court

cannot conclude that anything untoward is afoot.4 With no evidence of threats, harassment,

intimidation, or other misconduct, the Court will not second-guess the Government’s investigative




4
  The Government moved to file its opposition to Tarrio’s motion under seal to avoid making
public further details about its investigation into Lt. Lamond. ECF No. 576. The Court hereby
grants that motion.


                                                5
         Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 6 of 11




or prosecutorial decisions, matters which are firmly committed to the executive branch’s

discretion.5

       Turning to Rehl’s motion, he too offers no evidence of government misconduct to support

dismissing the indictment. In fact, the Government appears to be prosecuting the witnesses he has

identified for their alleged conduct on January 6th in the ordinary course. Rather, he insists that

“even if the prosecutors’ motives in delaying resolution of the exculpatory witnesses’ cases were

impeccable ‘the implication of what [they did] was calculated to transform [each witness] from a

willing witness to one who would refuse to testify [on Fifth Amendment grounds], and that in fact

was the result.’” ECF No. 581 at 6 (quoting United States v. Smith, 478 F.2d 976, 979 (D.C. Cir.

1973)). But in Smith, a defense witness represented that a prosecutor told him, during the trial,

that he would be prosecuted for certain offenses if he testified for the defense. See 478 F.2d at

978. This conduct, the Court found, was “calculated” to inspire the witness to invoke the Fifth

Amendment, even if the prosecutors were genuinely concerned the witness was ignorant of his

rights. See id. at 979. There is no evidence that something similar happened here, or that the

Government has otherwise pursued cases against these witnesses in such a way to intentionally

deprive Rehl of favorable testimony.6 So Smith offers no basis for relief.

       Nor will the Court infer the Government committed misconduct with respect to Lt. Lamond

or Rehl’s witnesses based on Nordean’s claims about DiCioccio and Rusch. To be clear, at least



5
 Because the Court finds that Tarrio has not shown prosecutorial misconduct warranting the relief
he seeks, the Court will not consider whether Lt. Lamond’s testimony would be “material,
exculpatory and not cumulative” or available from some other source. See Ebbers, 458 F.3d at
119.
6
 As for Jeffery Finley, the witness awaiting sentencing, the Court has reviewed the Government’s
sealed explanation for the continuance, per Rehl’s request. See ECF No. 581 at 4. It does not
suggest the Government continued the sentencing to intentionally interfere with Rehl’s right to
defend himself or to present exculpatory information.
                                                6
        Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 7 of 11




on the record before the Court, neither DiCioccio nor Rusch has suggested any intent to invoke

the Fifth Amendment if subpoenaed. So the Government’s interactions with these witnesses are,

for purposes of resolving these motions, only relevant if they change the Court’s assessment of the

circumstances related to Tarrio’s and Rehl’s witnesses, who have asserted a privilege. In short,

they don’t.

       Nordean alleges that, when federal agents and prosecutors interviewed DiCioccio over a

year ago, in November 2021, she “informed the government that she did not agree with the

government’s claim that Nordean and others had conspired to attack the Capitol or use violence

on January 6, [and] a government prosecutor only then announced—in the same November 2021

interview—that the witness would be prosecuted for an offense.” ECF No. 579 at 1 (emphasis

added). But DiCioccio was on notice that she was facing potential criminal charges for her actions

on January 6th a few months beforehand when she was first interviewed by law enforcement. See

ECF No. 580 at 3. Indeed, she appears to have known this from the start: the Government

represents that video evidence depicts her asking, “Are we all gonna get arrested?” as she entered

the Capitol that day. ECF No. 580 at 3. And of course, it would have been obvious to her by

November 2021 that, broadly speaking, the Government was pursuing charges against those who

had entered the Capitol. Finally, however DiCioccio interpreted her November 2021 interaction

with agents and prosecutors, her account of the facts is consistent with the Government’s that when

her partner asked if DiCioccio would be prosecuted “if [she] didn’t give the government what it

wanted,” the Government responded that she would only be prosecuted “because of what [she]

did.” ECF No. 579-1 at ¶ 7; see also ECF No. 580 at 2.

       As for Rusch, Nordean alleges only that “he has been placed in fear of testifying at trial”

because “[a] prosecutor communicated that Rusch’s son may be charged with offenses in



                                                7
         Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 8 of 11




connection with January 6.” ECF No. 584 at 1. There is no allegation that the Government

suggested that these charges would turn on whether Rusch testified for the defense, or for the

Government, for that matter.

       In short, the Government’s interactions with these witnesses do not impact the Court’s

assessment of the claims concerning Lt. Lamond or Rehl’s witnesses and do not otherwise warrant

dismissal of the case.

       Finally, the information presented by Tarrio in his supplement that Block and another

witness have now said—through counsel—that they would invoke the Fifth Amendment if called

to testify does not sway the Court. Again, Tarrio does not allege any Government misconduct

related to these witnesses or make any representation at all about the Government’s

communication with them before they asserted the privilege. Tarrio suggests that the Court should

infer nefarious activity simply from the number of potential defense witnesses who have claimed

privilege. See ECF No. 612 at 12. The Court has no grounds to do so. To the contrary, it is hardly

surprising that these witnesses—who are represented by counsel, after all—might believe that they

could face criminal exposure.

       For all these reasons, the Court will not require the Government to immunize defense

witnesses or else dismiss the indictment.

       B.      Judicial Immunity

       Next, Rehl argues that as an alternative to dismissal, the Court should immunize the

defense witnesses at issue on its own initiative. Of course, the D.C. Circuit has long held that

“only the Executive can grant statutory immunity, not a court.” Lugg, 892 F.2d at 104. But Rehl

counters that the Court need not “grant” immunity, for it would arise automatically if the Court

were to compel witnesses to testify. He points to Adams v. Maryland, 347 U.S. 179 (1954) and



                                                8
         Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 9 of 11




two of its progeny—Murphy v. Waterfront Commission of New York Harbor, 378 U.S. 52 (1964)

and Baltimore City Department of Social Services v. Bouknight, 493 U.S. 549 (1990)—to support

the idea that courts possess such a power.

       The Court agrees that, taken together, Adams, Murphy, and Bouknight, suggest that if a

witness is properly compelled to testify in one setting, the Fifth Amendment may bar the use of

such testimony against them at a later criminal proceeding. 7 But they offer no support for Rehl’s

suggestion that it would be a proper exercise of judicial power to compel witnesses to testify over

their express invocation of privilege—especially while they are under active investigation or now

facing criminal charges. In fact, the D.C. Circuit declined to do just that in Lugg. There, the court

explained that compelling a witness to testify over a Fifth Amendment privilege may be “founded

only on ‘formal statutory immunity’ and ‘to require’ a witness who has not received such statutory

immunity ‘to offer incriminating testimony . . . would be to do so at his peril.’” Lugg, 892 F.2d at

103 (quoting In re Corrugated Container Antitrust Litig., 662 F.2d 875, 887 (D.C. Cir. 1981)

(emphasis added)). For that reason, and under circumstances much like Finley’s, the court

declined to “compel[] testimony in the face of a Fifth Amendment privilege, solely on the basis of

a plea agreement” where “the sentencing had not yet been conducted nor the other charges

dismissed.” Id.

       To be sure, the Court appreciates the difficulty of Rehl’s position. But again, “[t]he cases

are legion and uniform that only the Executive can grant statutory immunity, not a court.” Lugg,



7
  See Adams, 347 U.S. at 180–81 (compelled congressional testimony cannot be used in later
criminal prosecution); Murphy, 378 U.S. at 77 (“[O]ne jurisdiction within our federal structure
may [not] compel a witness to give testimony which could be used to convict him of a crime in
another jurisdiction.”); Bouknight, 493 U.S. at 561 (noting without deciding that a mother could
not invoke the Fifth Amendment to resist a juvenile court order to produce a child, but there may
be limits on “the State’s ability to use the testimonial aspects of [her] act of production in
subsequent criminal proceedings”).
                                                 9
        Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 10 of 11




892 F.2d at 104. And “it is not the proper business of the trial judge to inquire into the propriety

of the prosecution’s refusal to grant use immunity to a prospective witness.” Id. (cleaned up). To

do as Rehl suggests would render this boundary meaningless, allowing courts to effectively

override a prosecutor’s immunity decision, thereby usurping a function long committed to the

executive branch. In short, the Court will not—indeed, cannot—grant Rehl this relief he seeks.

       C.      Severance

       Finally, Rehl argues that his case should be severed from that of his codefendants and

continued “until after the three exculpatory witnesses and MPD Lieutenant Lamond are available

to testify.” ECF No. 581 at 12. He points to, among others, Zafiro v. United States, where the

Supreme Court noted severance is appropriate when “essential exculpatory evidence that would

be available to a defendant tried alone [is] unavailable in a joint trial.” 506 U.S. 534, 539 (1993);

see also United States v. Slatten, 865 F.3d 767, 801 (D.C. Cir. 2017) (reversing a conviction for

first-degree murder because the trial court denied defendant’s severance motion where severance

would have allowed admission of an exculpatory codefendant statement). But unlike the cases he

cites, the unavailability of Rehl’s witnesses has nothing to do with the fact he is being tried jointly

with his codefendants. And at least with respect to Lt. Lamond, Rehl has no better claim to the

benefit of his testimony than Tarrio or his other codefendants. In short, Rehl offers no persuasive

grounds for the Court to grant severance.




                                                  10
       Case 1:21-cr-00175-TJK Document 625 Filed 01/05/23 Page 11 of 11




III.   Conclusion and Order

       For all these reasons, it is hereby ORDERED that Tarrio’s Motions to Dismiss, ECF Nos.

569, 572, 611, and 612, and Rehl’s Motion to Dismiss, to Grant Immunity, or to Sever and

Continue, ECF No. 581, are DENIED.


                                                         /s/ Timothy J. Kelly
                                                         TIMOTHY J. KELLY
                                                         United States District Judge
Date: January 5, 2023




                                             11
